              Case 2:08-cr-00363-WBS Document 81 Filed 08/19/09 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     DAVID FORKNER
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-08-363 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND ORDER
11
                                                     )       CONTINUING STATUS CONFERNCE
     v.                                              )
12
                                                     )       Date: August 21, 2009
     DAVID FORKNER and                               )       Time: 9:00 a.m.
13
                                                     )       Judge: Hon. Garland E. Burrell
     LORETTA CANHAM,                                 )
14
                                                     )
            Defendants.                              )
15
                                                     )
                                                     )
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19                  IT IS HEREBY stipulated between the United States of America through its
20   undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
21   counsel for defendant David Forkner, John R. Manning, Esq., and counsel for defendant Loretta
22   Canham, Dennis S. Waks, Esq., that the status conference presently set for August 21, 2009 be
23   continued to October 2, 2009, at 9:00 a.m., thus vacating the presently set status conference.
24
     Counsel for the parties agree that this is an appropriate exclusion of time within the meaning of
25
     Title 18, United States Code § 3161(h)(8)(B)(iv) (continuity of counsel/ reasonable time for
26
     effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
27
     the order until the date of the status conference October 2, 2009.
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             Case 2:08-cr-00363-WBS Document 81 Filed 08/19/09 Page 2 of 3



 1

 2   IT IS SO STIPULATED
 3   Dated: August 17, 2009                    /s/ John R. Manning___________
                                               JOHN R. MANNING
 4
                                               Attorney for Defendant
 5                                             David Forkner

 6   Dated: August 17, 2009                    /s/ Dennis S. Waks____________
                                               DENNIS S. WAKS
 7                                             Attorney for Defendant
                                               Loretta Canham
 8

 9

10   Dated: August 17, 2009                    Lawrence G. Brown
11
                                               United States Attorney

12
                                               by: /s/ Michael M. Beckwith
13                                             MICHAEL M. BECKWITH
14
                                               Assistant United States Attorney

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              Case 2:08-cr-00363-WBS Document 81 Filed 08/19/09 Page 3 of 3



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     ATTORNEY AT LAW
 2
     1111 H Street, # 204
 3   Sacramento, CA. 95814
     (916) 444-3994
 4   Fax (916) 447-0931
 5
     Attorney for Defendant
     DAVID FORKNER
 6

 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-08-363 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO CONTINUE STATUS
                                                    ) CONFERNCE
12
     v.                                             )
                                                    )
13
     DAVID FORKNER and                              )
                                                    )
14   LORETTA CANHAM,                                )
                                                    )
15
            Defendants.                             )
                                                    )
16
                                                    )
17

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19
            GOOD CAUSE APPEARING, it is hereby ordered that the August 21, 2009 status

20
     conference be continued to October 2, 2009 at 9:00 a.m. I find that the ends of justice warrant an

21
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

22
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS

23
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (8) (B) (iv) and

24
     Local Code T4 from the date of this order to October 2, 2009.

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26
     IT IS SO ORDERED.
     Dated: August 19, 2009                              __________________________________
27                                                       Garland E. Burrell
                                                         United States District Judge
28




                                                     3
